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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ---------------------------------------------------------------------X
    MINHYE PARK,
                                                                                Index No.: 1:20-cv-02636
                                         Plaintiff,

             -against-

    DAVID DENNIS KIM, M.D.,

                                         Defendant.
    ---------------------------------------------------------------------X

                                        NOTICE OF MOTION TO COMPEL

           PLEASE TAKE NOTICE that upon the accompanying declaration of Hayley Newman, Esq.,

   the exhibits attached hereto, and the accompanying Declaration, Rule 37 Certification and Memorandum

   of Law in Support of Defendant’s Motion to Compel, dated July 29, 2021, Defendant, David Dennis Kim,

   M.D., will move on August 11, 2021 for an Order pursuant to Rule 37(a) of the Federal Rules of Civil

   Procedure granting Defendant’s motion for an order compelling the production of discovery, documents

   and answers to interrogatories.

           PLEASE TAKE FURTHER NOTICE that pursuant to the Court’s July 22, 2021 Order,

   Plaintiff’s oppositions papers shall be served on or before August 5, 2021.

   Dated: New York, New York
          July 29, 2021
                                                      Respectfully submitted,

                                                      HEIDELL, PITTONI, MURPHY & BACH, LLP

                                                      By: _______________________________________
                                                         Hayley Newman (HN 5509)
                                                         99 Park Avenue
                                                         New York, New York 10016
                                                         Tel: (212) 286-8585
                                                         Fax: (212) 490-8966
                                                         hnewman@hpmb.com

                                                          Attorneys for Defendant
                                                          DAVID DENNIS KIM, M.D.

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     VIA ECF
 TO: Jae Lee, Esq.
     JSL LAW OFFICES, P.C.
     Attorneys for Plaintiff
     626 RXR Plaza
     Uniondale, New York 11556




    2434959.1
